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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA.,                       )
                                                 )
         Plaintiff,                              )
                                                 )
         v.                                      )          Case No. 4:24CR121 JAR (NCC)
                                                 )
CRAIG A. SPIEGEL, M.D.,                          )
                                                 )
         Defendant.                              )

                                            ORDER

       This matter is before the Court on the Government’s Motion to Stay Bond Execution and

for De Novo hearing on detention. After a detention hearing was held on Government’s Motion

for Pretrial Detention pursuant to 18 U.S.C. §§ 3141-3142 of the Bail Reform Act, Magistrate

Judge Stephen R. Welby issued a Memorandum and Order denying Government’s Motion and

set bond execution for March 18, 2024. ECF Nos. 22 and 23. The Government now requests this

Court to stay the bond execution and order continued detention of Defendant until the Court can

conduct a de novo hearing. Upon review of the record and taking into consideration the United

States Pretrial Services Office’s Bail Report and recommendation, the Court finds there is a basis

to stay the bond execution in order for this Court to conduct a hearing on the Government’s

request for reconsideration and make a de novo determination of the order of detention pursuant

to 18 U.S.C. § 3145(b).

       Accordingly,

       IT IS HEREBY ORDERED that the Government’s Motion to Stay Bond Execution and

Order Continued Detention of Defendant is GRANTED.

       IT IS FURTHER ORDERED that a De Novo hearing on detention is set for hearing on
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March 20, 2024, at 10:30 A.M.

      Dated this 15th day of March, 2024.


                                            ________________________________
                                            JOHN A. ROSS
                                            UNITED STATES DISTRICT JUDGE




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